                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 July 30, 2015
                              No. 10-13-00466-CR
                            ANTHONY LYNN THIBODEAUX
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 87[th] District Court
                            Freestone County, Texas
                           Trial Court No. 12-154-CR
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on December 20, 2013, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

